
In re Health &amp; Human Res. Dept.; Lallie Kemp Charity Hospital; Kemp, Lallie Charity Hospital; Health &amp; Human Res. *894Dept.; Lallie Kemp Charity Hospital; Kemp, Lallie Charity Hospital; — Defendants); applying for writ of certiorari and/or review; to the Court of Appeal, First Circuit, Nos. CA90 0756, CA90 2148; Parish of Tangipahoa, 21st Judicial District Court, Div. “C”, No. 79,127.
Prior report: La.App., 589 So.2d 103. 589 So.2d 103.
Denied.
LEMMON, J., would grant on penalties and attorney’s fees.
